Case 2:15-cr-00012-DBH Document 111 Filed 10/02/20 Page 1 of 3             PageID #: 291




                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE

UNITED STATES OF AMERICA,                )
                                         )
      v.                                 )      2:15-cr-00012-DBH-1
                                         )
TASHEEM CARTER,                          )
                                         )
             Defendant                   )


            RECOMMENDED DECISION ON MOTION FOR SENTENCE
               REDUCTION PURSUANT TO THE FIRST STEP ACT

      Defendant moves to reduce his sentence pursuant to §§ 401 and 404 of the First Step

Act, Pub. L. No. 115- 391 (2018). (Motion, ECF No. 110.) Following a review of the

record and after consideration of Defendant’s motion, I recommend the Court deny the

motion.

                FACTUAL BACKGROUND AND PROCEDURAL HISTORY

      In 2015, Defendant was indicted for possession with intent to distribute cocaine and

oxycodone and conspiracy to distribute cocaine, oxycodone, and 28 grams or more of a

mixture or substance containing cocaine base, in violation of 21 U.S.C. §§ 846 and

841(a)(1). (Superseding Indictment, ECF No. 31.) Defendant pled guilty to the conspiracy

charge, (Change of Plea Hearing, ECF No. 64), and in January 2016, the Court sentenced

Defendant to 132 months imprisonment. (Judgment, ECF No. 91).

                                      DISCUSSION

      Section 401 of the First Step Act reduced the statutory mandatory minimum

penalties pursuant to 21 U.S.C. §§ 841 and 851 for defendants found to have prior
Case 2:15-cr-00012-DBH Document 111 Filed 10/02/20 Page 2 of 3                      PageID #: 292




convictions for serious drug felonies or serious violent felonies. Id. § 401(a). Section 401

does not apply to Defendant however, because Defendant was not sentenced according to

a mandatory minimum for a prior drug felony or violent felony conviction. (Synopsis, ECF

No. 32; Presentence Investigation Report ¶ 79 (describing five-year mandatory minimum

based on cocaine base quantity, not a prior conviction)).1

       Under § 404 of the First Step Act, Congress made the provisions governing

minimum quantities and mandatory minimum sentences for cocaine base in the Fair

Sentencing Act of 2010, Pub L. No. 111-220 (2010) apply retroactively to sentences

imposed before August 3, 2010. See United States v. Smith, 954 F.3d 446, 446–48 (1st

Cir. 2020); see also, United States v. Pierre, 372 F. Supp. 3d 17, 18–20 (D.R.I. 2019)

(summarizing the history of the penalties for cocaine base). Section 404 does not provide

a basis to reduce Defendant’s sentence, however, because he was sentenced after August

2010, and thus his term of imprisonment already accounted for the changes to the cocaine

base minimums. Accordingly, Petitioner is not entitled to relief under § 404 of the First

Step Act.

                                          CONCLUSION

       Based on the foregoing analysis, I recommend the Court deny Defendant’s motion

for a sentence reduction pursuant to the First Step Act.




1
  Even if Defendant had faced a mandatory minimum sentence for a prior conviction, Congress did not
make the § 401 changes to the mandatory minimum sentences apply retroactively, and thus the changes
would not apply to Defendant, who was sentenced before December 21, 2018. Id. § 401(c); United States
v. Gonzalez, 949 F.3d 30, 42-43 (1st Cir. 2020).
                                                 2
Case 2:15-cr-00012-DBH Document 111 Filed 10/02/20 Page 3 of 3                PageID #: 293




                                         NOTICE

             A party may file objections to those specified portions of a magistrate
      judge’s report or proposed findings or recommended decisions entered
      pursuant to 28 U.S.C. 636(b)(1)(B) for which de novo review by the district
      court is sought, together with a supporting memorandum, within fourteen
      (14) days of being served with a copy thereof. A responsive memorandum
      shall be filed within fourteen (14) days after the filing of the objection.
             Failure to file a timely objection shall constitute a waiver of the right
      to de novo review by the district court and to appeal the district court's order.


                                                  /s/ John C. Nivison
                                                  U.S. Magistrate Judge

Dated this 2nd day of October, 2020.




                                             3
